Case 4:06-cr-00053-JLH Document 207 Filed 03/06/08 Page 1 of 7
Case 4:06-cr-00053-JLH Document 207 Filed 03/06/08 Page 2 of 7
Case 4:06-cr-00053-JLH Document 207 Filed 03/06/08 Page 3 of 7
Case 4:06-cr-00053-JLH Document 207 Filed 03/06/08 Page 4 of 7
Case 4:06-cr-00053-JLH Document 207 Filed 03/06/08 Page 5 of 7
Case 4:06-cr-00053-JLH Document 207 Filed 03/06/08 Page 6 of 7
Case 4:06-cr-00053-JLH Document 207 Filed 03/06/08 Page 7 of 7
